Case 2:17-cv-13461-JMV-MF Document 16

January 12, 2018

Sent via ECF and NJLS

Hon. John Michael Vazquez, USDg
MLK Building & US Courthouse

50 Walnut Street

Newark, NJ O71O01

Re: Giordano v. Ocwen, et als.
Docket No. 17-13461-JMV-MF

Dear Judge Vazquez:

We represent the Plaintiffs in the abov

Filed 01/17/18

Page 1 of 1 PagelD

- 652
6 KINDERKAMACK ROAD
WESTWOOD, NEW JERSEY 07675
PHONE: 201.664.8855
FAX: 201.666.8589
www.denbeauxlaw.com

DENBEAUX
DENBEAUX

‘ATTORNEYS AT LAW

Joshua W. Denbeaux
Abigail D. Kahl

Of Counsel
Mark P, Denbeaux*
*Admitted in NJ and NY

e referenced litigation.

his date, I submitted a Notice of Dismissal Without Prejudice.

The Court entered an Order which docket entry states that the
case was voluntarily dismissed, but without any indication as to
whether the dismissal was with or without prejudice.

I write to request that the Court corre
indicate that the dismissal was without

Plaintiffs are filing a motion to vac

ct the docket entry to
prejudice.

ate final judgment in

foreclosure. Upon success of that motion, Plaintiffs will

refile their affirmative claim.

intended to be without prejudice.

Respectfully,

DENBEAUX & .DENBEAUX
” ey, a

af

  

“
/
é

Wc. Bye Joshua W. Denbeatse7-

JWD:ve

Cc: Gerard Giordano (via email only)
Jacqueline Aiello, Esq. (via ECF and email)
Ken Goodkind, Esq. (via ECF and email)
Nora Anne Valenza-Frost, Esq. (via ECF and email)

As such, this dismissal was
